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LAURA O’SULLIVAN, ET AL.,

                             Plaintiffs;

                       v.
                                                      Civil Action No. 20-00821-LFR
NEW CASTLE COUNTY, ET AL.,

                              Defendants.




                                           ORDER


       AND NOW, this 28th day of January 2022, it is hereby ORDERED that all
parties provide the court with an update of their respective clients’ settlement status with
regard to the above-captioned case. Please file the status update by the close of business
on Monday, January 31, 2022.
       It is further ORDERED that all parties appear telephonically for a status
conference on Tuesday, February 1st, 2022, at 2:30 PM.
       Counsel is directed to utilize the Court’s teleconferencing line at (866) 590-5055,
access code 3512527.




                                                         By the Court,
                                                         s/ L. Felipe Restrepo
                                                         Circuit Judge




Dated: January 28, 2022
